











Opinion issued November 3, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00907-CV




IN RE THOMAS E. JENNINGS, II, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Thomas E. Jennings, II, seeks
mandamus relief compelling the trial court to vacate its order subjecting him to a
physical examination.             
We deny the petition for writ of mandamus.  All outstanding motions are
overruled as moot.      
&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Keyes, Alcala, and Hanks.      


